






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-113-CR




STERLING ALLEN,


a/k/a STERLING CLARENCE ALLEN, JR.,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 102,587, HONORABLE JON N. WISSER, JUDGE


                       





PER CURIAM

	A jury found appellant guilty of theft of property having a value greater than $750
but less than $20,000.  Tex. Penal Code Ann. § 31.03 (1989 &amp; Supp. 1992).  The  jury assessed
punishment, enhanced by two previous felony conviction, at imprisonment for fifteen years and
a $2000 fine.  After being admonished by the court of the disadvantages of self-representation,
appellant waived counsel on appeal.

	The statement of facts was filed on November 20, 1991.  On January 27, 1992, the
Clerk of this Court notified appellant that his brief was overdue.  Appellant did not respond to this
notice, and no brief has been tendered for filing.  Because appellant represents himself, he bears
full responsibility for the failure to file a brief.  We will therefore consider this appeal without
briefs.

	We have examined the transcript and statement of facts.  We find no fundamental
error or other matter that should be considered in the interest of justice.

	The judgment of conviction is affirmed.


[Before Justices Powers, Jones and Kidd]

Affirmed

Filed:  February 26, 1992

[Do Not Publish]


